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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 10-01636
         RICHARD AGUILERA
         TERI AGUILERA
                 Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Glenn Stearns, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 01/18/2010.

         2) The plan was confirmed on 09/29/2010.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 01/06/2015.

         6) Number of months from filing to last payment: 60.

         7) Number of months case was pending: 62.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $43,450.00.

         10) Amount of unsecured claims discharged without payment: $206,425.66.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

        Total paid by or on behalf of the debtor            $53,520.00
        Less amount refunded to debtor                           $0.00

 NET RECEIPTS:                                                                                 $53,520.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                              $3,395.40
     Court Costs                                                            $0.00
     Trustee Expenses & Compensation                                    $2,314.10
     Other                                                                  $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                               $5,709.50

 Attorney fees paid and disclosed by debtor:               $104.60


 Scheduled Creditors:
 Creditor                                    Claim         Claim            Claim        Principal      Int.
 Name                            Class     Scheduled      Asserted         Allowed         Paid         Paid
 CAPITAL ONE BANK USA         Unsecured       5,931.00       5,993.28         5,993.28        842.28        0.00
 CHASE BANK USA               Unsecured          647.00        687.88           687.88          96.67       0.00
 CITIBANK                     Unsecured       1,135.00            NA               NA            0.00       0.00
 CITIBANK                     Unsecured       1,135.00            NA               NA            0.00       0.00
 CITY OF AURORA               Unsecured           92.29        116.93           116.93          16.43       0.00
 COMCAST                      Unsecured          102.62           NA               NA            0.00       0.00
 COMED LEGAL REVENUE RECOVERY Unsecured            0.00          0.00             0.00           0.00       0.00
 CREDIT COLLECTION SERVICES   Unsecured          135.75           NA               NA            0.00       0.00
 DISCOVER BANK                Unsecured       7,469.00       7,469.65         7,469.65      1,049.77        0.00
 DISCOVER BANK                Unsecured       4,713.00       4,713.56         4,713.56        662.43        0.00
 DISH NETWORK                 Unsecured           81.99           NA               NA            0.00       0.00
 DUPAGE MEDICAL GROUP         Unsecured          307.00           NA               NA            0.00       0.00
 DUPAGE MEDICAL GROUP         Unsecured           60.24           NA               NA            0.00       0.00
 ECAST SETTLEMENT CORP        Unsecured          235.27        377.33           377.33          53.03       0.00
 ECAST SETTLEMENT CORPORATION Unsecured       8,176.00       8,176.02         8,176.02      1,149.04        0.00
 ECMC                         Unsecured      13,803.00     15,127.91        15,127.91       2,126.05        0.00
 EMERGENCY TREATMENT SC       Unsecured          467.77           NA               NA            0.00       0.00
 GE CAPITAL RETAIL BANK       Unsecured       2,487.65            NA               NA            0.00       0.00
 HOUSEHOLD MORTGAGE SERVICES Unsecured           377.00           NA               NA            0.00       0.00
 MIDLAND FUNDING LLC          Unsecured           76.22         95.26            95.26          13.39       0.00
 NICOR GAS                    Unsecured          130.00        294.68           294.68          41.41       0.00
 PELLETTIERI & ASSOC          Unsecured          254.00           NA               NA            0.00       0.00
 PORTFOLIO RECOVERY ASSOC     Unsecured      11,844.00     11,844.93        11,844.93       1,664.66        0.00
 PORTFOLIO RECOVERY ASSOC     Unsecured       2,739.00       2,739.21         2,739.21        384.96        0.00
 PORTFOLIO RECOVERY ASSOC     Unsecured      11,069.00     11,069.45        11,069.45       1,555.68        0.00
 PORTFOLIO RECOVERY ASSOC     Unsecured          695.00        695.24           695.24          97.71       0.00



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 Scheduled Creditors:
 Creditor                                     Claim         Claim         Claim        Principal        Int.
 Name                               Class   Scheduled      Asserted      Allowed         Paid           Paid
 PORTFOLIO RECOVERY ASSOC       Unsecured     16,388.00     16,388.08     16,388.08       2,303.15          0.00
 PORTFOLIO RECOVERY ASSOC       Unsecured      8,588.00       8,588.02      8,588.02      1,206.94          0.00
 PORTFOLIO RECOVERY ASSOC       Unsecured      8,177.00       8,177.59      8,177.59      1,149.26          0.00
 PORTFOLIO RECOVERY ASSOC       Unsecured      6,307.00       6,307.08      6,307.08        886.38          0.00
 RUSH COPLEY MEDICAL CENTER     Unsecured         201.61           NA            NA            0.00         0.00
 SEARS BKRUPTCY RCVRY MGMT SV   Unsecured      8,393.00            NA            NA            0.00         0.00
 US BANK                        Unsecured     13,985.21            NA            NA            0.00         0.00
 US BANK                        Unsecured     19,200.51            NA            NA            0.00         0.00
 US BANK                        Unsecured      1,870.00       1,904.76      1,904.76        267.69          0.00
 US BANK                        Secured        8,950.00       8,950.00      8,950.00      8,950.00       414.21
 US BANK                        Secured        9,650.00       9,650.00      9,650.00      9,650.00       446.59
 US BANK                        Unsecured            NA       2,837.63      2,837.63        398.79          0.00
 US BANK                        Unsecured            NA       8,993.89      8,993.89      1,263.98          0.00
 US BANK                        Unsecured           0.00    79,107.49     79,107.49      11,117.61          0.00
 WATER RECLAMATION DISTRICT     Unsecured          43.45         17.00         17.00           2.39         0.00
 WELLS FARGO HOME MORTGAGE      Secured             0.00          0.00          0.00           0.00         0.00


 Summary of Disbursements to Creditors:
                                                             Claim           Principal                Interest
                                                           Allowed               Paid                    Paid
 Secured Payments:
       Mortgage Ongoing                                     $0.00              $0.00                    $0.00
       Mortgage Arrearage                                   $0.00              $0.00                    $0.00
       Debt Secured by Vehicle                         $18,600.00         $18,600.00                  $860.80
       All Other Secured                                    $0.00              $0.00                    $0.00
 TOTAL SECURED:                                        $18,600.00         $18,600.00                  $860.80

 Priority Unsecured Payments:
        Domestic Support Arrearage                           $0.00                $0.00                 $0.00
        Domestic Support Ongoing                             $0.00                $0.00                 $0.00
        All Other Priority                                   $0.00                $0.00                 $0.00
 TOTAL PRIORITY:                                             $0.00                $0.00                 $0.00

 GENERAL UNSECURED PAYMENTS:                          $201,722.87         $28,349.70                    $0.00


 Disbursements:

        Expenses of Administration                           $5,709.50
        Disbursements to Creditors                          $47,810.50

 TOTAL DISBURSEMENTS :                                                                       $53,520.00



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        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 03/18/2015                             By:/s/ Glenn Stearns
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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